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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                           SHREVEPORT DIVISION

 MAGNOLIA ISLAND PLANTATION,               CIVIL ACTION NO. 5:18-CV-1526
 ET AL.

 VERSUS                                    DISTRICT JUDGE:
                                           HON. S. MAURICE HICKS, JR.

 LUCKY FAMILY, L.L.C., ET AL.              MAGISTRATE JUDGE:
                                           HON. KAREN L. HAYES

                       DAUBERT MOTION TO EXCLUDE
                        OPINIONS OF JOHN W. DEAN




                                EXHIBIT A

                 Rule 26 report of John W. Dean




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